"ROB 35                                                               Report and Order Terminating Supervision
(Rev 3/93)                                                                     Prior to Original Expiration Date



                                 UNITED STATES DISTRICT COURT
                                           FOR THE
                             EASTERN DISTRICT OF NORTH CAROLINA
                                      WESTERN DIVISION

UNITED STATES OF AMERICA

                     V.                                              Crim. No. 5:04-CR-443-2BO

PRISCILLA BARNES

        On June 6, 2008, the above named was placed on supervised release for a period of 36
months. The offender has complied with the rules and regulations of supervised release and is no
longer in need of supervision. It is accordingly recommended that the offender be discharged from
superVISIOn.


Reviewed and approved,                                       Respectfully submitted,


 /s/ Jeffrey L. Keller                                        /s/ Billy W. Boggs, Jr.
Jeffrey L. Keller                                            Billy W. Boggs, Jr.
Supervising U.S. Probation Officer                           Senior U.S. Probation Officer


                                        ORDER OF COURT

        Pursuant to the above report, it is ordered that the offender be discharged from supervision
and that the proceedings in the case be tenninated.

                             J
             Dated this_ _3L...4lo---   day of ~ ~                          ,2010.



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                                                     U.S. District Judge        /




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